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 1                                                                        Benjamin H. Settle, U.S. District Judge

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 8
     THOMAS LEE EVANS,                                     NO. 3:18-cv-05473-BHS
 9
                                           Plaintiff,
10
             vs.                                           DEFENDANT'S MOTION TO DISMISS
11                                                         PURSUANT TO FRCP 12(b)
     BRIAN HEIMANN,et al.,                                 Noted on Motion Docket: September 21, 2018
12

13                                      Defendants.

14
                                                I.       MOTION
15
             COMES NOW Defendant Pierce County and moves pursuant to Federal Rule of Civil
16
     Procedure 12(b)(1) and 12(b)(6) for dismissal of the Complaint of Plaintiff Thomas Lee Evans.
17
     See Dkt. #1. This motion is brought on the ground the Complaint is a successive/duplicative
18
     suit, involving the same nucleus of facts, parties, and legal issues. This Court should dismiss this
19
     second, duplicative complaint at the earliest stage possible to avoid burdensome litigation of the
20
     same issues. Alternatively, Plaintiff has failed to state a claim upon which relief can be granted
21
     against Defendant Pierce County warranting dismissal of this matter. This motion is based on
22
     the Complaints filed in Pierce County Superior Court Cause No. 17-2-12067-2, United States
23
     District Court Case 3:17-cv-06046, and United States District Court Case 3:18-cv-05473.
24

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     Evans 12(b) MTD.docx                                             955 Tacoma Avenue South, Suite 301
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 1                                     II.     STATEMENT OF FACTS

 2           On October 6, 2017, Plaintiff filed a complaint against Defendants Pierce County, Paul

 3   Pastor, Rob Mesko, Patti Jackson-Kidder, Miguel Balderrama, M.D., and various John and Jane

 4   Does arising out of his arrest by Pierce County Sheriff's Deputies on June 15, 2015. See 3:17-cv-

 5   06046, Dkt #1-2. Plaintiff alleged Negligence; False Arrest; Violation of Civil Conspiracy;

 6   Negligent Hiring, Retention, Training and Supervision; and Respondeat Superior. On

 7   December 14, 2017, Defendants removed the case to the United States District Court as it

 8   appeared Plaintiff was asserting claims under 42 U.S.C. § 1983. See 3:17-cv-06046, Dkt #1.

 9   Plaintiff filed a Motion for Remand, stating:

10           Plaintiff's complaint for state law tort claims is properly pleaded. There is no
             federal question presented on its face. Therefore, defendants' removal action
11           violates the well pleaded complaint rule. For these reasons the defendants'
             removal action should be vacated, and plaintiff's case should be immediately
12           remanded back to the Pierce County Superior Court.

13   See 3:17-cv-06046, Dkt #14 at 5.

14           Plaintiff also argued in his Reply brief that "[t]here are no federal issues in plaintiff's

15   complaint that make it a federal civil rights lawsuit." See 3:17-cv-06046, Dkt #21 at 6. The case

16   was subsequently remanded to Pierce County Superior Court. See 3:17-cv-06046, Dkt #23.

17   Following remand, Plaintiff filed an Amended Complaint in the state court action naming Brian

18   Heimann, Bill Foster, Pete Turner, Martin Zurfluh, C. Collins, and J. Blind as additional

19   defendants. See Decl. of KMC Ex. A.

20           With the first lawsuit still pending in state court, Plaintiff has now filed a second

21   complaint (this action), alleging the same facts and circumstances as contained in the original

22   complaint, arising from his arrest by Pierce County Sheriff's Deputies on June 15, 2015. This

23   complaint named Brian Heimann, Bill Foster, Pete Turner, Martin Zurfluh, Paul Pastor, Rob

24

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 1   Mesko, C. Collins, J. Blind, Patti Jackson-Kidder, Miguel Balderrama, M.D., and Pierce County,

 2   and various John and Jane Does. This Complaint asserts claims arising under 42 U.S.C. § 1983.

 3           Because this second suit violates the doctrine of claim splitting, Defendant Pierce County

 4   seeks dismissal with prejudice of this claim. In the alternative Defendant Pierce County seeks

 5   dismissal because Plaintiff has failed to state a claim upon which relief can be granted against it.

 6                                             III.     ANALYSIS

 7   A.      DISMISSAL PUSUANT TO 12(b)(1) IS REQUIRED AS THIS COURT IS
             WITHOUT JURISDICTION TO HEAR THIS SECOND, IDENTICAL LAWSUIT
 8
             The party asserting jurisdiction bears the burden of establishing subject matter
 9
     jurisdiction on a Rule 12(b)(1) motion to dismiss. Kokkonen v. Guardian Life Ins. Co. of Am.,
10
     511 U.S. 375, 377 (1994). "[U]nlike a Rule 12(b)(6) motion, in a Rule 12(b)(1) motion, the
11
     district court is not confined by the facts contained in the four corners of the complaint—it may
12
     consider facts and need not assume the truthfulness of the complaint." Americopters, LLC v.
13
     FAA, 441 F.3d 726, 732 n. 4 (9th Cir.2006).
14
             In support of a motion to dismiss under Rule 12(b)(1),
15
             [T]he moving party may submit "affidavits or any other evidence properly before
16           the court .... It then becomes necessary for the party opposing the motion to present
             affidavits or any other evidence necessary to satisfy its burden of establishing that
17           the court, in fact, possesses subject matter jurisdiction."

18   St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir.1989) (citations omitted). Colwell v. Dep't

19   of Health and Human Serv., 558 F.3d 1112, 1121 (9th Cir.2009); accord Savage v. Glendale

20   Union High School, Dist. No. 205, 343 F.3d 1036, 1039 n. 2 (9th Cir.2003) cert. denied, 541 U.S.

21   1009 (2004) ("Once the moving party has converted the motion to dismiss into a factual motion

22   by presenting affidavits or other evidence properly brought before the court, the party opposing

23   the motion must furnish affidavits or other evidence necessary to satisfy its burden of

24   establishing subject matter jurisdiction.").

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 1           Under the first-to-file rule, "when two identical actions are filed in courts of concurrent

 2   jurisdiction, the court which first acquired jurisdiction should try the lawsuit and no purpose

 3   would be served by proceeding with a second action." Pacesetter Sys., Inc. v. Medtronic, Inc.,

 4   678 F.2d 93, 95 (9th Cir.1982). Three factors must be considered in applying the first-to-file

 5   rule: (1) the chronology of the actions; (2) the similarity of the parties; and (3) the similarity of

 6   the issues. See Ward v. Follett Corp., 158 F.R.D. 645, 648 (N.D.Cal.1994); see, also, Pacesetter

 7   Sys. Inc., 678 F.2d at 95. Neither the parties to each action nor the issues involved need be

 8   identical. See Landis v. North Am. Co., 299 U.S. 248, 254 (1936).

 9           While this doctrine is generally invoked when a litigant files an identical claim in another

10   federal district court, the doctrine should also apply when a litigant files an identical claim in a

11   federal district court while a state court claim is pending.

12           It is readily apparent that the current matter was filed after the first filed complaint in

13   Pierce County Superior Court. The first matter was subsequently removed because it appeared

14   Plaintiff was asserting claims under 42 U.S.C. § 1983. Plaintiff denied the assertion of any

15   claims under 42 U.S.C. § 1983, and requested the matter be remanded to state court, when he

16   could have continued to litigate in federal court, and amend his complaint to add § 1983 claims if

17   necessary. The parties in this matter are the same, and the issues are the same. Based on this,

18   the Court should dismiss this second action and permit jurisdiction to rest in the original matter

19   in Pierce County Superior Court. A comparison of the two complaints shows that the exact same

20   core of facts is alleged in each matter. See Dkt. #1; see also 3:17-cv-06046 Dkt. #1-2.

21   B.      THIS MATTER SHOULD BE DISMISSED UNDER 12(b)(6)

22           A claim may be dismissed under Rule 12(b)(6) either because it asserts a legal theory that

23   is not cognizable as a matter of law, or because it fails to allege sufficient facts to support an

24   otherwise cognizable legal claim. SmileCare Dental Group v. Delta Dental Plan of California,

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 1   Inc., 88 F.3d 780, 783 (9th Cir.1996). In addressing a Rule 12(b)(6) challenge the court accepts

 2   all factual allegations in the complaint as true (Hospital Bldg. Co. v. Trustees of the Rex

 3   Hospital, 425 U.S. 738, 740 (1976)), and construes the pleadings in the light most favorable to

 4   the nonmoving party. Tanner v. Heise, 879 F.2d 572, 576 (9th Cir.1989).

 5           When ruling on a Rule 12(b)(6) motion to dismiss, if a district court considers evidence

 6   outside the pleadings, it must normally convert the 12(b)(6) motion into a Rule 56 motion for

 7   summary judgment, and it must give the nonmoving party an opportunity to respond. See

 8   Fed.R.Civ.P. 12(b); Parrino v. FHP, Inc., 146 F.3d 699, 706 n.4 (9th Cir.1998). A court may,

 9   however, consider certain materials – documents attached to the complaint, documents

10   incorporated by reference in the complaint, or matters of judicial notice – without converting the

11   motion to dismiss into a motion for summary judgment. See Van Buskirk v. CNN, 284 F.3d 977,

12   980 (9th Cir.2002); Barron v. Reich, 13 F.3d 1370, 1377 (9th Cir.1994). Courts may only take

13   judicial notice of adjudicative facts that are "not subject to reasonable dispute." Fed.R.Evid.

14   201(b). Facts are indisputable, and thus subject to judicial notice, only if they are either

15   "generally known" under Rule 201(b)(1) or "capable of accurate and ready determination by

16   resort to sources whose accuracy cannot be reasonably questioned" under Rule 201(b)(2).

17   United States v. Ritchie, 342 F.3d 903, 908-09 (9th Cir.2003).

18           1.       This Matter Should Be Dismissed Under 12(b)(6) as Impermissible Claim-
                      Splitting
19
             Defendant Pierce County seeks dismissal of all claims under Federal Rule of Civil
20
     Procedure 12(b)(6) on the basis that this is a duplicative filing. Claim preclusion or claim-
21
     splitting is appropriately raised on a motion to dismiss if the defendant does not raise issues of
22
     disputed facts. Scott v. Kuhlman, 746 F.2d 1377, 1378 (9th Cir.1984).
23

24

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 1           The "main purpose behind the rule preventing claim splitting is 'to protect the defendant

 2   from being harassed by repetitive actions based on the same claim.'" Clements v. Airport

 3   Authority of Washoe County, 69 F.3d 321, 328 (9th Cir.1995) (quoting Restatement (Second)

 4   Judgments § 26 comment a). The court must assess whether the complaint is duplicative and, if

 5   so, decide on an appropriate remedy. See Adams v. California Dep't of Health Servs., 487 F.3d

 6   684, 688-93 (9th Cir.2007). At its discretion, the court may dismiss the duplicative lawsuit with

 7   or without prejudice, stay or enjoin the proceedings, or consolidate the two actions. See id. at

 8   692-93 (holding that in the circumstances of the case the district court did not abuse its discretion

 9   in dismissing the later-filed complaint with prejudice). "[T]he claim splitting rule exists to allow

10   district courts to manage their docket and dispense with duplicative litigation." Katz v. Gerardi,

11   655 F.3d 1212, 1218-19 (10th Cir.2011).

12           Filing two separate lawsuits based on the same event—claim-splitting—is also precluded

13   in Washington." Landry v. Luscher, 95 Wn.App. 779, 780, 976 P.2d 1274 (1999).

14           "[I]n assessing whether the second action is duplicative of the first, we examine whether

15   the causes of action and relief sought, as well as the parties or privies to the action are the same."

16   Adams, 487 F.3d at 689 (citing The Haytian Republic, 154 U.S. 118, 124 (1894) ("There must be

17   the same parties, or, at least, such as represent the same interests; there must be the same rights

18   asserted and the same relief prayed for; the relief must be founded upon the same facts, and the

19   ... essential basis, of the relief sought must be the same."); Curtis v. Citibank, N.A., 226 F.3d 133,

20   140 (2d Cir.2000)).

21           "In the claim-splitting context, the appropriate inquiry is whether, assuming that the first

22   suit was already final, the second suit could be precluded pursuant to claim preclusion." Adams,

23   487 F.3d at 689. "The normal claim preclusion analysis applies and the court must assess

24   whether the second suit raises issues that should have been brought in the first." Id. "To

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 1   ascertain whether successive causes of action are the same, we use the transaction test, developed

 2   in the context of claim preclusion. 'Whether two events are part of the same transaction or series

 3   depends on whether they are related to the same set of facts and whether they could conveniently

 4   be tried together.'" Adams, 487 F.3d at 689 (quoting Western Sys., Inc. v. Ulloa, 958 F.2d 864,

 5   871 (9th Cir.1992)).

 6           In applying the transaction test to ascertain whether successive causes of action are the

 7   same, federal court examine four criteria: (1) whether the rights or interests established in the

 8   prior judgment would be destroyed or impaired by prosecution of the second action; (2) whether

 9   substantially the same evidence is presented in the two actions; (3) whether the two suits involve

10   infringement of the same right; and (4) whether the two suits arise out of the same nucleus of

11   facts. See Constantini v. Trans World Airlines, 681 F.2d 1199, 1201-02 (9th Cir.1982); see, also,

12   Adams, 487 F.3d 684.

13           Here the filing of this second lawsuit is classic claim-splitting. For whatever reason,

14   Plaintiff fought to keep his original suit out of federal court, and chose to forego seeking leave to

15   amend the pleadings in the original suit. Instead, Plaintiff chose to burden the Court and parties

16   with an additional lawsuit. In comparing the two complaints, it is clear that the second lawsuit

17   relies on the identical nucleus of facts; names the same parties, and both suits seek monetary

18   relief against the named defendants. "[I]n the claim preclusion context, the most significant

19   factor is that the causes of action arise from a common transactional nucleus of facts." Adams,

20   487 F.3d at 691 (citing Western Sys. Inc. v. Ulloa, 958 F.2d 864, 871 (9th Cir.1992); C.D.

21   Anderson & Co. v. Lemos, 832 F.2d 1097, 1100 (9th Cir. 1987); Constantini v. Trans World

22   Airlines, 681 F.2d 1199, 1201 (9th Cir.1982)). That is clearly the case here.

23   /////

24   /////

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 1           Defendant recognizes that "the circumstances permitting the dismissal of a federal suit

 2   due to the presence of a concurrent state proceeding for reasons of wise judicial administration

 3   are ... limited ...." Colorado River Water Conservation Dist. v. U.S., 424 U.S. 800, 818 (1976).

 4           In assessing the appropriateness of dismissal in the event of an exercise of
             concurrent jurisdiction, a federal court may also consider such factors as the
 5           inconvenience of the federal forum, cf. Gulf Oil Corp. v. Gilbert, 330 U.S. 501,
             (1947); the desirability of avoiding piecemeal litigation, cf. Brillhart v. Excess Is.
 6           Co., 316 U.S. 491, 495 (1942); and the order in which jurisdiction was obtained
             by the concurrent forums, Pacific Live Stock Co. v. Oregon Water Bd., 241 U.S.
 7           440, 447 (1916). No one factor is necessarily determinative; a carefully
             considered judgment taking into account both the obligation to exercise
 8           jurisdiction and the combination of factors counselling against that exercise is
             required. See Landis v. North American Co., supra, 299 U.S. at 254-255. Only
 9           the clearest of justifications will warrant dismissal.

10   Colorado River Conservation dist., 424 U.S. at 818-819. Though the circumstances are limited,

11   this is a case where dismissal should be permitted. Plaintiff filed the lawsuit in state court,

12   fought removal and had the case remanded to state court, only to file this (new) federal action.

13   Plaintiff could have amended the Complaint in the initial suit to add claims under 42 U.S.C. §

14   1983, and could have continued to litigate in federal court. Instead Plaintiff took the position

15   that his Complaint contained no federal claims, only to subsequently file a Complaint with

16   identical parties (as named in the Amended Complaint filed in state court), and an identical set of

17   facts, this time in federal court, now requiring Defendant to litigate claims in two separate courts

18   based on the same set of facts.

19           Defendant requests dismissal of this second action. This remedy encourages a careful

20   and thoughtful approach to litigation and prevents needless, duplicative filings. "Dismissal of

21   the duplicative lawsuit, more so than the issuance of a stay or the enjoinment of proceedings,

22   promotes judicial economy and the 'comprehensive disposition of litigation.'" Adams, 487 F.3d

23   at 692-93 (citing Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co., 342 U.S. 180, 183 (1952)).

24

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 1           2.       This Court Should Also Dismiss the Claims Against Pierce County Where
                      There Is No Showing of a Constitutional Violation
 2
             Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a "short and plain
 3
     statement of the claim showing that the pleader is entitled to relief."
 4
             "The pleading standard Rule 8 announces does not require 'detailed factual allegations,'
 5
     but it demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation."
 6
     Ascroft v. Iqbal, 556 U.S. 662, 677-78 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.
 7
     544, 555 (2007)).
 8
             A pleading that offers "labels and conclusions" or "a formulaic recitation of the elements
 9
     of a cause of action will not do." Twombly, 550 U.S. at 555. Nor does a complaint suffice if it
10
     tenders "naked assertion[s]" devoid of "further factual enhancement." Id. at 557. To survive a
11
     motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to "state a
12
     claim to relief that is plausible on its face." Id. at 570. "A claim has facial plausibility when the
13
     plaintiff pleads factual content that allows the court to draw the reasonable inference that the
14
     defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678 (citing Twombly, 550
15
     U.S. at 556). "The plausibility standard is not akin to a 'probability requirement,' but it asks for
16
     more than a sheer possibility that a defendant has acted unlawfully." Iqbal, 556 U.S. at 678
17
     (quoting Twombly, 550 U.S. at 557). "Where a complaint pleads facts that are 'merely consistent
18
     with' a defendant's liability, it "stops short of the line between possibility and plausibility of
19
     'entitlement to relief.'" Id.
20
             Plaintiff claims that Pierce County is liable for (1) cruel and unusual punishment – denial
21
     of medical treatment – deliberate indifference to prisoner's medical health; (2) false arrest/arrest
22
     without probable cause unconstitutional policy practice or custom; and (3) excessive force policy
23
     practice or custom.
24

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 1           Municipalities are "persons" under 42 U.S.C. § 1983 and thus may be liable for causing a

 2   constitutional deprivation. Monell v. Dept. of Social Services, 436 U.S. 658 (1978). However, a

 3   municipality may not be sued under § 1983 solely because an injury was inflicted by its

 4   employees or agents – a respondeat superior theory. Id. at 694. Instead, it is only when

 5   execution of a government's policy or custom inflicts the injury that the municipality as an entity

 6   is responsible. Id. A policy is "'a deliberate choice to follow a course of action ... made from

 7   among various alternatives by the official or officials responsible for establishing final policy

 8   with respect to the subject matter in question.'" Fairley v. Luman, 281 F.3d 913, 918 (9th

 9   Cir.2002) (per curiam) (citing Oviatt v. Pearce, 954 F.2d 1470, 1477 (9th Cir.1992)) (quoting

10   Pembaur v. City of Cincinnati, 475 U.S. 469, 483 (1986)). A municipality's failure to train an

11   employee who has caused a constitutional violation can be the basis for § 1983 liability where

12   the failure to train amounts to deliberate indifference to the rights of persons with whom the

13   employee comes into contact. See City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989).

14   The issue is whether the training program is adequate and, if it is not, whether such inadequate

15   training can justifiably be said to represent municipal policy. Id. at 390. In order to establish a

16   § 1983 claim against a municipality, plaintiff must:

17           (1) Identify a specific policy or custom; (2) demonstrate that the policy was
             sanctioned by the official or official responsible for making policy in that area of
18           the city's business; (3) demonstrate a constitutional deprivation; and (4) establish
             a causal connection between the custom or policy and the constitutional
19           deprivation. Lack of proof on any of the above elements would require dismissal
             of the action. (citations omitted).
20
     Baldwin v. City of Seattle, 55 Wn.App. 241, 248 (1989); see also City of St. Louis v. Praprotnick,
21
     485 U.S. 112, 123 (1988).
22
             All theories of municipal liability fail on the face of the complaint.
23

24

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 1                   a.      Policy/Custom or Failure to Adopt Policies

 2           "The existence of a policy, without more, is insufficient to trigger local government

 3   liability under section 1983." Oviatt By & Through Waugh v. Pearce, 954 F.2d 1470, 1477-78

 4   (9th Cir.1992), (citing City of Canton, 489 U.S. at 388-89). "Under City of Canton, before a local

 5   government entity may be held liable for failing to act to preserve a constitutional right, plaintiff

 6   must demonstrate that the official policy "evidences a 'deliberate indifference'" to his

 7   constitutional rights." Id. (quoting City of Canton, 489 U.S. at 389). This occurs when the need

 8   for more or different action "is so obvious, and the inadequacy [of the current procedure] so

 9   likely to result in the violation of constitutional rights, that the policymakers ... can reasonably be

10   said to have been deliberately indifferent to the need." City of Canton, 489 U.S. at 390.

11           In order to establish a custom, Plaintiff must allege that Defendants' acts were undertaken

12   pursuant to a practice "so permanent and well settled as to constitute a 'custom or usage' with the

13   force of law." Monell, 436 U.S. at 691; Thompson v. City of Los Angeles, 885 F.2d 1439, 1444

14   (9th Cir.1989). "Liability for improper custom may not be predicated on isolated or sporadic

15   incidents; it must be founded upon practices of sufficient duration, frequency and consistency

16   that the conduct has become a traditional method of carrying out policy." Trevino v. Gates, 99

17   F.3d 911, 918 (9th Cir.1996) (citations omitted); see also, Meehan v. Los Angeles Cnty., 856 F.2d

18   102 (9th Cir.1988) (two incidents not sufficient to establish custom); Davis v. Ellensburg, 869

19   F.2d 1230 (9th Cir.1989) (manner of one arrest insufficient to establish policy).

20           The complaint fails to state a claim against Pierce County. The fact that there was force

21   used by Pierce County Sheriff's deputies in and of itself, does not mean that force was the result

22   of a policy or custom. See City of St. Louis v. Praprotnik, 485 U.S. 112, 123 (1985) ("[A]n

23   unjustified shooting by a police officer cannot, without more, be thought to result from official

24   policy.").

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 1           Plaintiff's complaint also fails to point out specifically what custom or policy was drafted,

 2   directed, or implemented, which resulted in the harm alleged here. Further the complaint fails to

 3   specify what policy Pierce County has or should have in order to prevent the alleged harm here.

 4                   b.      Failure to Train

 5           "In limited circumstances, a local government's decision not to train certain employees

 6   about their legal duty to avoid violating citizens' rights may rise to the level of an official

 7   government policy for purposes of § 1983." Connick v. Thompson, 563 U.S. 51, 61 (2011). "A

 8   municipality's culpability for a deprivation of rights is at its most tenuous where a claim turns on

 9   a failure to train." Id. (citing Oklahoma City v. Tuttle, 471 U.S. 808, 822-23 (1985) (plurality

10   opinion) ("[A] 'policy' of 'inadequate training'" is "far more nebulous, and a good deal further

11   removed from the constitutional violation, than was the policy in Monell."). To satisfy the

12   statute, the local government's failure to train its employees in a relevant respect must amount to

13   "deliberate indifference to the rights of persons with whom the [untrained employees] come into

14   contact." Connick, 563 U.S. at 61 (quoting Canton, 489 U.S. at 388). "Only then 'can such a

15   shortcoming be properly thought of as a city "policy or custom" that is actionable under § 1983.'"

16   Id. (quoting Canton, 489 U.S. at 389). "'[D]eliberate indifference' is a stringent standard of fault,

17   requiring proof that a municipal action disregarded a known or obvious consequence of his

18   action." Id. (quoting Board of Comm'rs of Bryan County v. Brown, 520 U.S. 397, 410 (1997)).

19           Under Iqbal, where a "complaint does not identify what the training and hiring practices

20   were, how the training and hiring practices were deficient, or how the training and hiring

21   practices caused [p]laintiff's harm[,]" such "threadbare" conclusory allegations will not support

22   the claim. Young v. City of Visalia, 687 F.Supp.2d 1141,1149 (E.D.Cal.2009).

23           Because the complaint contains threadbare assertions on training with absolutely no

24   connection to the incident, this Court must dismiss Pierce County from the Complaint.

     DEFENDANT'S MOTION TO DISMISS PURSUANT TO FRCP 12(b) - 12         Pierce County Prosecuting Attorney/Civil Division
     Evans 12(b) MTD.docx                                              955 Tacoma Avenue South, Suite 301
     USDC WAWD No. 3:18-cv-05473-BHS                                   Tacoma, Washington 98402-2160
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 1                                           IV.     CONCLUSION

 2           Defendant Pierce County respectfully requests that the Court dismiss Plaintiff's claims

 3   against it. The filing of this Complaint is duplicative, and all matters should be resolved in the

 4   first suit pending in Pierce County Superior Court. Additionally, Plaintiff has failed to state a

 5   claim against Defendant Pierce County upon which relief can be granted.

 6           Defendant Pierce County reserves the right to assert all Affirmative Defenses not

 7   specifically addressed in this motion.

 8           DATED this 28th of August, 2018.

 9                                                    MARK LINDQUIST
                                                      Prosecuting Attorney
10
                                                      s/ KRISTAL M. COWGER
11                                                    KRISTAL M. COWGER / WSBA #43079
                                                      Pierce County Deputy Prosecutor / Civil
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14

15                                      CERTIFICATE OF SERVICE

16           On August 28, 2018, I hereby certify that I electronically filed the foregoing
     DEFENDANT'S MOTION TO DISMISS PURSUANT TO FRCP 12(b) and PROPOSED
17   ORDER with the Clerk of the Court using the CM/ECF system which will send notification of
     such filing to the following:
18
         •   John J Kannin: john@kanninlaw.com, scott@kanninlaw.com, ryley@kanninlaw.com
19
                                                                 s/ CHRISTINA SMITH
20                                                               CHRISTINA SMITH
                                                                 Legal Assistant
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